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                   Exhibit 13
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'     '                                                 STAFF JOURNAL
                      Period Covered:          From:       7/18/2011 4:37:00 AM     To:      9/25/2013 12:04:00 PM


    CASE NR: 456057           SERVICE: United States Army                               Name: Deirdre Alice Aguigui
                                                                                        Rank: SGT   '
    Date I Time                     CAC/BASE Name                                             HQ Action Officer


    2011-07-18/04:37:00             Mr. Alpice (LEA CAC)                                      BRIAND.HOLMES
    Received Initial report from STE CAC. Edited and emailed the report to DFAS, and LEA CAC. Contacted Mr. Alp ice (LEA
    CAC) about receipt of report.
    2011-07-18/ 04:48:00            Journal Note                                              JOSHUA.R.AL TICE
    LEA CAC-Spoke with SSG Holmes, pending movement until reciept of the casualy report, script, sglv,and 93. Also pending
    whether or not this is condolences or notification.0353 CST
    2011-07-18 I 05:34:00           Multiple                                                  BRIAN.D.HOLMES
    Contacted Mr. Kennedy (STE CAC) concerning more details on the DSM due to no heads up being offered. He confirmed
    that the Husband was the one to find the DSM and called 911. The Husband is also in the military. He also stated that both
    the parents of the DSM have been notified by the Husband. This information was confirmed through the assigned Chaplain,
    CPT Brown. DA also inquired about a SUPP for the cause of death and an initial report for the child. Mr. Kennedy said his
    office is working on both issues.



    Contacted Ms. Joan (LEA CAC at 913-775-0849) to inform her that both parents have been notified and that condolence
    should be rendered to both parents. DA informed LEA CAC that there is a possibility that the parents may have left their
    horne of residence and could be traveling to Fort Stewart. LEA CAC requested a script.
    2011-07-18 I 05:34:00                                                                     BRIAN.D.HOLMES
    The Secretary of the Army has asked me to express his deep regret that your daughter, Deirdre died in Fort Stewart, GA on
    July 17, 2011. Deirdre was found unresponsive by her husband and later transferred to Winn Army Hospital where she was
    pronour.ced deceased. The Army is conducting an investigation into the death of your daughter, Deirdre. When the
    investigation is complete, you will be offered the opportunity to receive a copy of the investigation. The Secretary extends
    his deepest sympathy to you and to your Family in your tragic loss. An Army casualty assistance officer will contact you
    shortly. In the meantime, if you have questions or require assistance please contact our regional representative at 1-877-
    681-5249.


    Approved by LTC Murriel
    2011-07-18/ 07:36:00                                                                      DENNIS.KENNEDY1
    The husband (PFC Aguigui) is presently residing with unit personnel and completing investigation with CID. Unit will
    designate a time and place this morning for CAO to extend condolences and complete documents. Unit POC: MAJ Darell M.
    Robinson, 4th IBCT, O!fice: (912) 435-7959, Cell: (912) 271-3840.


    Mortuary is investigating Remains disposition (i.e. Soldier+ Stillborn???)




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                   Period Covered:        From:       7/18/2011 4:37:00 AM      To:     9/25/2013 12:04:00 PM


 CASE NR: 456057           SERVICE:    United States Army                         Name: Deirdre Alice Aguigui
                                                                                   Rank: SGT
 Date I Time                    CAC/BASE Name                                            HQ Action Officer


 2011-07-19/12:16:00            Agent Toole, SPC Tillotson, Mr. Plumey                   ROSAM.OATES
 Contacted Agent Wes Toole (Fort Stewart, CID office) this morning and inquired if the Spouse (PFC Isaac Aguigui) is a
 person of interest Agent Wes stated that he is unable to say whether or not the Spouse is a person of interest at this time.
 The autopsy is being performed this morning and upon review of the results, Agent Toole would be able to state whether or
 not the Spouse is a person of interest. Contacted SPC Tillotson (24th Financial Management Center) to suspend the Death
 Gratuity payment. SPC Tillotson called back and stated that their office submitted a request to DFAS for a recall of the Death
 Gratuity payment. Per SPC Tillotson conversation with DFAS, the payment has already been released but they will attempt
 to pull the payment back. SPC Tillotson will not know until later today upon her receipt of a response from DFAS informing
 her that their office was able to pull back the Death Gratuity payment. ML Plumey (Casualty Chief) was provided a status
 update.
 2011-07-19/13:30:00            Journal Note                                             JOSHUAR.ALTICE
 Mother maiden name is i_Forsythei_, passed on toMs Oates.
 2011-07-19/15:49:00            0093/SGLV review                                          LAURA.E.HASH
 I reviewed the DO Form 93 (17 FEB 2011) and SGLV 8286 (17 FEB 2011) with the Team Lead. Verified the following
 beneficiaries:


 PADD: Husband
 UPPA: Husband 100%
 Death Gratuity: Husband 100%
 SGLI: Husband 100%
 Days Ahead Binder: Husband
 Flag: 2 (Husband, married parents)
 Awards Sets: 2 (Husband, married parents)
 Payment of benefits should be held until verification that ClD is not considering the husband as a person of interest
 2011-07-19/20:33:00            emailed HRC/Ft Stewart                                    JAKAYLA.MOBLEY
 SSN & DOB updated for mother & father. Six siblings will be added when SSN's are provided. Mother and Father plan to
 depart today around 1200 CST for Ft Stewart. CAO for SNOK has been in contact with CAO for PNOK.




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 CASE NR: 456057            SERVICE: United States Army                            Name: Deirdre Alice Aguigui
                                                                                    Rank: SGT
 Date I Time                     CACIBASE Name                                             HQ Action Officer


2011-07-20 I 09:12:00            Mr Sumner (STE CAC)                                       MAJELASAVAGE
 Received a call from Mr Sumner (STE CAC) to relay updates. He said autopsy is in progress and the Soldier is currently at
Winn Army Community Hospital on Fort Stewart. Autopsy is being done by an Armed Forces Medical Examiner. He said DG
 is being held (as the Spouse is a person of interest) until the results of the autopsy are released. He said he received the
 7302, and the PADD (Husband) elected cremation, and the baby (22 week boy) would be cremated with the Mother as welL
 He said PADD elected to retain the cremains.
 He is going to make contact with the unit for any posthumous awards and services would be tentative ior Man or Tues.
 2011-07-20 I 09:26:00           Spouse ADI Received                                       MAJELASAVAGE
 Received Spouse (PFC Isaac G. Aguigui) Members of Congress ADI from PEDDOPN and he CONSENTS.


 (AD I uploaded to file attachments)
 (NOK Tab Legal Docs updated)




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CASE NR: 456057              SERVICE:    United States Army                      Name: Deirdre Alice Aguigui
                                                                                  Rank: SGT
 Date I Time                      CAC/BASE Name                                          HQ Action Officer


2011-07-20 /17:28:00              Days Ahead Binder Request                              MAJELASAVAGE
 I requested shipment of the Days Ahead Binder from the Support Section for PADD CAO (SFC Lapsley) be sent to:


 16 NEW SAVANNAH DR
SAVANNAH GA 31405-6873
2011-07-20/17:35:00               Plan of Action                                         MAJELASAVAGE
 Plan of Action


- daily contact with CAOs
-monitor for CCAO assignment for Mother and Father from STE
-monitor for 7302
-monitor for 7 Questions
-monitor for Mother and Father AD Is
-monitor for payment receipt of DG to Spouse (pending autopsy findings)
- review awards
-monitor for posthumous awards from Unit through Mr Sumner (STE CAC)
- monitor for schedule of services
 2011-07-21/10:55:00              SPC Tillotson, SFC Lapsley                             ROSA.M.OATES
 20 July 2011 Delayed Entry"'*Contacted Agent Wes Toole (Fort Stewart CID) and informed that the autopsy was complete.
 Inquired with Agent Toole about whether or not if the Spouse is a person of interest and Agent West stated at this time the
 Spouse is not considered a person of interest Contacted MAJ Pritchett (CMAOC Case Management) and informed her of
 my conversation with Agent Toole. Contacted SPC Tillotson (24th Financial Management Center) and informed her that the
 Death Gratuity payment could be resubmitted for payment SPC Tillotson said that their office has to get DFAS confirmation
 that the initial payment was pulled back from the Spouse1-s account before a resubmission of the Death Gratuity payment
 Per conversation with SFC Lapsley (CAO, Spouse), the Spouse informed him that USM Savings Bank contacted the
 Spouse and informed him that DFAS had pulled back the Death Gratuity payment It was explained to SFC Lapsley that as
 soon as the local finance office confirms that DFAS has pulled back the initial Death Gratuity payment, the claim for payment
 will be resubmitted.




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